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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 NANCY GIMENA HUISHA-HUISHA, on
 behalf of herself and others similarly situated,

                    Plaintiffs,

         v.                                                   Civ. A. No. 21-100 (EGS)

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                    Defendants.


                                   JOINT STATUS REPORT

        Pursuant to the Court’s April 13, 2022, Minute Order, Plaintiffs and Defendants, by and

through undersigned counsel, hereby submit this joint status report.

        1.     On April 1, 2022, the Centers for Disease Control and Prevention (“CDC”), a

component of the U.S. Department of Health and Human Services (“HHS”), issued a Public Health

Determination and Order Regarding the Right to Introduce Certain Persons from Countries Where

a Quarantinable Communicable Disease Exists (“Termination Order”). The April 2022 Order

terminated the Public Health Reassessment and Order Suspending the Right to Introduce Certain

Persons from Countries Where a Quarantinable Communicable Disease Exists (“August 2021

Order”), and all related prior orders, and set the effective date of the termination to be May 23,

2022.

        2.     The Government was prepared to implement the Termination Order on May 23,

2022, but upon a challenge to that order by 24 States, on May 20, 2022, the District Court for the

Western District of Louisiana in Louisiana v. Ctrs. For Disease Control and Prevention, Civ. A.
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No. 22-885, preliminarily enjoined defendants in that case 1 from enforcing the Termination Order.

See id., Prelim. Inj. Order (May 20, 2022), ECF No. 91. That court found, among other things,

that the States are likely to succeed on their claim that CDC failed to comply with the notice-and-

comment requirements of the Administrative Procedure Act, 5 U.S.C. § 553(b), in issuing the

Termination Order. See id., Mem. Op. at 34-41, ECF No. 90. Defendants have appealed that

decision. Id., ECF No. 92.

       3.      As a consequence of the preliminary injunction, the Department of Homeland

Security (“DHS”) and its component agencies are continuing to enforce the August 2021 Order

pursuant to 42 U.S.C. §§ 265, 268 and 42 CFR § 71.40.

       4.      On May 23, 2022, the D.C. Circuit issued the mandate in this case. Consistent with

the D.C. Circuit’s decision, DHS has issued guidance regarding implementation of the preliminary

injunction issued by this Court, as modified by the D.C. Circuit’s decision. DHS has also shared

with Plaintiffs the guidance documents issued to U.S. Customs and Border Protection personnel

regarding the implementation.

       5.      The parties continue to discuss, inter alia, Defendants’ implementation of the

preliminary injunction, as well as the completeness of the administrative record. The parties will

also discuss next steps in this litigation with the intention of making joint or separate

recommendations in another joint status report to be filed, with the Court’s permission, at the latest

by June 17, 2022. Depending on the parties’ discussions and other developments, the parties may

request relief from the Court before that date.

       6.      A proposed order is enclosed.



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        Defendants in the Western District of Louisiana case include all the defendants in this
matter, other than Pete Flores, CBP Executive Assistant Commissioner.

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Dated: May 27, 2022              Respectfully submitted,

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                             UNITED STATES DISTRICT COURT
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 NANCY GIMENA HUISHA-HUISHA, on
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        v.                                                    Civ. A. No. 21-100 (EGS)

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 Homeland Security, et al.,

                    Defendants.



                                      PROPOSED ORDER

       Upon consideration of the Joint Status Report, it is hereby ORDERED that the parties

shall file another joint status report with a recommendation for further proceedings on or before

June 17, 2022.


_________________                                    __________________
Date                                                 Emmet G. Sullivan
                                                     United States District Judge
